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1    Howard J. Hirsch (SBN: 213209)
     LEXINGTON LAW GROUP
2    503 Divisadero Street
3    San Francisco, CA 94117
     hhirsch@lexlawgroup.com
4    Attorneys for Plaintiff GREENPEACE, INC.

5    Patrick L. Oot (pro hac vice granted)
     SHOOK, HARDY & BACON L.L.P.
6    1800 K Street, N.W., Suite 1000
7    Washington, DC 20006
     oot@shb.com
8
     Eva M. Weiler (SBN: 233942)
9    SHOOK, HARDY & BACON L.L.P.
     Jamboree Center
10
     5 Park Plaza, Suite 1600
11   Irvine, California 92614-2546
     eweiler@shb.com
12
     M. Kevin Underhill (SBN: 208211)
13   Steve Vieux (SBN: 315133)
     SHOOK, HARDY & BACON L.L.P.
14
     555 Mission Street, Suite 2300
15   San Francisco, California 94105
     kunderhill@shb.com
16   svieux@shb.com
     Attorneys for Defendant WALMART INC.
17
                                UNITED STATES DISTRICT COURT
18
                             NORTHERN DISTRICT OF CALIFORNIA
19

20    GREENPEACE, INC.                                  Case No. 3:21-CV-00754-MMC
                                                        Assigned to Hon. Maxine M. Chesney
21                          Plaintiff,
                                                        JOINT STIPULATION FOR
22           v.                                         DISMISSAL PURSUANT TO FRCP
                                                        41(a)(1)(A)(ii)
23    WALMART INC.,
24                          Defendant.
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                        STIPULATION FOR DISMISSAL – CASE NO. 3:21-CV-00754-MMC
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1           The parties to this action, acting through counsel, and pursuant to Federal Rule of Civil

2    Procedure 41(a)(1)(A)(ii), hereby stipulate to the dismissal of this action without prejudice.
3
      Dated:   June 3, 2022                       LEXINGTON LAW GROUP
4

5                                                 By: /s/ Howard Hirsch
                                                      Howard Hirsch
6                                                     Meredyth Merrow
7                                                      Attorneys for Plaintiff
                                                       GREENPEACE, INC.
8
9

10    Dated:   June 3, 2022                       SHOOK, HARDY & BACON L.L.P.
11
                                                  By: /s/ Eva Weiler
12                                                    Eva Weiler
                                                      M. Kevin Underhill
13                                                    Steve Vieux
14                                                     Attorneys for Defendant
                                                       WALMART INC.
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                         STIPULATION FOR DISMISSAL – CASE NO.3:21-CV-00754-MMC
       Case 3:21-cv-00754-MMC Document 71 Filed 06/03/22 Page 3 of 3



1                                             ATTESTATION

2           I, Howard Hirsch, am the CM/ECF user whose ID and password are being used to file this

3    Joint Stipulation for Dismissal. Pursuant to Local Civil Rule 5-1(i)(3), I hereby attest that

4    Eva Weiler, on whose behalf this filing is jointly submitted, has concurred in this filing.

5
                                                    /s/ Howard Hirsch
6
                                                   Howard Hirsch
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                         STIPULATION FOR DISMISSAL – CASE NO.3:21-CV-00754-MMC
